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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            Case No. 17-cv-23429-COOKE/GOODMAN

 PATRICIA RODGERS, et. al., individually
 and on behalf of all others similarly situated,

 Plaintiffs,

 vs.

 MARK ADDY, et. al.,

       Defendants.
 _____________________________________/
                             ORDER GRANTING MOTION TO STAY

         THIS MATTER comes before me on the parties’ joint motion to stay this action, ECF
 No. 235. The parties have requested a stay of this action, pending final approval of a class-wide
 settlement of the related class action pending in the Central District of California, Lavigne v.
 Herbalife Ltd., Case No. 2:18-cv-07480-JAK (“the California action”). The parties state that
 they have reached a settlement in principle, and will shortly be moving for preliminary
 approval of a class action settlement. The Court hereby ORDERS and ADJUDGES as
 follows:
               1. The Court GRANTS the motion to stay, and STAYS this action pending
                  settlement in the California action. The Clerk shall administratively CLOSE this
                  case.
               2. Within 30 days of approval of the class action settlement, the parties shall file a
                  joint status report advising the Court as to how the parties plan to proceed,
                  including whether they intend to dismiss this action.
 DONE and ORDERED in chambers at Miami, Florida, this 5th day of January 2022.




 Copies furnished to:
 Jonathan Goodman, U.S. Magistrate Judge
 Counsel of record
